        Case 3:06-cr-00192-N          Document 1017            Filed 06/17/14      Page 1 of 1       PageID 3551
                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION DIVISION                                U.S. DISTRICT COURT
                                                                                               NORTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA                                   §                                             FILED
                                                           §
v.                                                         §    CASE NO.: 3:06-CR-00 92-N
                                                           §
                                                                                                      JUN I t 2014
AARON GUTIERREZ-GARCIA (3)                                 §
                                                                                              <;;;,E~COURT
                                        REPORT AND RECOMMENDATION                                           eputy
                                         CONCERNING PLEA OF GUILTY

         AARON GUTIERREZ-GARCIA (3), by consent, under authority of United States v. Dees, 125 F.3d 261 (5th
Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) 1 of the
Superseding Information After cautioning and examining AARON GUTIERREZ-GARCIA (3) under oath concerning
each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the
offense( s) charged is supported by an independent basis in fact containing each of the essential elements of such offense.
I therefore recommend that the plea of guilty be accepted, and that AARON GUTIERREZ-GARCIA (3) be adjudged
guilty of 21:846 Conspiracy to Possess With Intent to Distribute a Controlled Substance and have sentence imposed
accordingly. After being found guilty of the offense by the district judge,

~/ The defendant is currently in custody and should be ordered to remain in custody.
0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        0       The Government does not oppose release.
        0       The defendant has been compliant with the current conditions of release.
        0       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                other person or the community if released and should therefore be released under § 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.

Date:   June 17, 2014




                                                        NOTICE

         Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of
its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
